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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

      In re AUTOMOTIVE PARTS ANTITRUST                2:12-md-2311
      LITIGATION                                      Honorable Marianne O. Battani

      In re AUTOMOTIVE PARTS
      ANTITRUST LITIGATION

                                                      2:12-cv-00100-MOB-MKM
      THIS CASE RELATES TO:                           2:12-cv-00103-MOB-MKM
      ALL AUTOMOTIVE PARTS ANTITRUST                  2:12-cv-00200-MOB-MKM
      LITIGATION ACTIONS                              2:12-cv-00203-MOB-MKM
                                                      2:12-cv-00300-MOB-MKM
                                                      2:12-cv-00303-MOB-MKM
                                                      2:12-cv-00400-MOB-MKM
                                                      2:12-cv-00403-MOB-MKM
                                                      2:12-cv-00500-MOB-MKM
                                                      2:12-cv-00503-MOB-MKM
                                                      2:12-cv-00601-MOB-MKM
                                                      2:12-cv-00603-MOB-MKM




                                MOTION TO WITHDRAW

        PETER J. MOUGEY, attorney for Michael Tracy from the law firm of LEVIN,

  PAPANTONIO, THOMAS, MITCHELL, RAFFERTY & PROCTOR, P.A. respectfully

  requests that the Court enter an order allowing JAMES L. KAUFFMAN, a former attorney

  with LEVIN, PAPANTONIO, THOMAS, MITCHELL, RAFFERTY & PROCTOR, P.A., to

  withdraw as counsel for Plaintiff Michael Tracy in the above captioned matter.   Mr.

  Kauffman is no longer with the firm of LEVIN, PAPANTONIO, THOMAS, MITCHELL,

  RAFFERTY & PROCTOR, P.A. and consents to this motion. Plaintiff Michael Tracy will

  continue to be represented by the law firm of LEVIN, PAPANTONIO, THOMAS,

  MITCHELL, RAFFERTY & PROCTOR, P.A.
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                                        Respectfully Submitted,

  Dated: April 9, 2014                  /s/Peter J. Mougey
                                        Peter J. Mougey, Esq.
                                        LEVIN PAPANTONIO THOMAS
                                        MITCHELL RAFFERTY & PROCTOR,
                                        P.A 316 South Baylen Street, Suite 600
                                        Pensacola, FL. 32502
                                        (850) 435-7068
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                                        pmougey@levinlaw.com
                                        Attorney for Plaintiff Michael Tracy
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN

      In re AUTOMOTIVE PARTS ANTITRUST                  2:12-md-2311
      LITIGATION                                        Honorable Marianne O. Battani

      In re AUTOMOTIVE PARTS
      ANTITRUST LITIGATION

                                                        2:12-cv-00100-MOB-MKM
      THIS CASE RELATES TO:                             2:12-cv-00103-MOB-MKM
      ALL AUTOMOTIVE PARTS ANTITRUST                    2:12-cv-00200-MOB-MKM
      LITIGATION ACTIONS                                2:12-cv-00203-MOB-MKM
                                                        2:12-cv-00300-MOB-MKM
                                                        2:12-cv-00303-MOB-MKM
                                                        2:12-cv-00400-MOB-MKM
                                                        2:12-cv-00403-MOB-MKM
                                                        2:12-cv-00500-MOB-MKM
                                                        2:12-cv-00503-MOB-MKM
                                                        2:12-cv-00601-MOB-MKM
                                                        2:12-cv-00603-MOB-MKM


                   [PROPOSED] ORDER ON MOTION TO WITHDRAW

         NOW, this day of April, 2014, upon the Motion to Withdraw as Counsel, IT IS

  HEREBY ORDERED that James L. Kauffman is withdrawn as counsel of record for Plaintiff

  Michael Tracy in the above captioned matter.



         Dated: April __, 2014      BY THE COURT


                                                         Marianne O. Battani
                                                         United States District Judge
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                                 CERTIFICATE OF SERVICE

                I, Peter J. Mougey, hereby certify that on April 9, 2014, a true and correct copy of

  the Motion to Withdraw as counsel for Plaintiff Michael Tracy was filed with the Clerk of the

  Court, per the Local Rules and will be available for viewing and downloading via the CM/ECF

  system and CM/ECF system will send notification of such filing to all attorneys of record.



                                                    /s/ Peter J. Mougey
                                                   Peter J. Mougey
